                                    Case 2:18-cv-04930-GAM Document 1 Filed 11/14/18 Page 1 of 8

The JS 44 c1v1l cover sheet and the informat10n contained herein neither replace nor supplement the fihng and service of pleadings or other papers as reqmred by law, except as
provided by local rules of court ThIS form. approved by the Jud1C1al Conference of the United States in September 1974, 1s required for the use of the Clerk of Court for the
purpose of 1rut1atmg the c1v1I docket sheet (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM 1

I. (a) PLAINTIFFS
            KIA COOPER
                                                                                                                        DEFENDANTS
                                                                                                                       INSPIRITEC, INC.                                         18
      (b) County of Residence of First Listed Plainttff                                                                 County of Residence of hrst Listed Defendant
                                   !EXCEPT IN US PLAINT 'F CASES)                                                                                          (IN US PLAINT/ff CASE. ONl Y!
                                                                                                                        NOTE        IN LAND CONDEMNATION CASES, USE
                                                                                                                                    THE TRACT OF LAND INVOl VED

      ( C) Attorneys (Fmn Name          Address, and Telephone Nu             er                                         Attorneys (If Known)
      Colin P. Saltry, Esq. - Kreamer, Manes & Associates LLC
      1628 JFK BLVD., SUI         1650 PHILADELPHIA, PA 191 3

                                                              lace an 'X" m One Box Onln                   III. CITIZENSHIP OF PRINCIPAL                                     PARTIESrPlacean x inOneBoxjorP/amtzfl
                                                                                                                    rFor D1verntv Cases Only)                                                  and One Box for Defendant}
::J 1     lJ ,S Government                              F deral Questton                                                                           PTF       DF.F                                             PTF       DEF
            Plamttff                                      fU S Government Not a Party!                         Citizen of This State               ::J I     ::J     I     Incorporated ot Pnnc1pal Place      ::J 4    ::1 4
                                                                                                                                                                             of Busme.s In Tuts State

CJ 2      l: S Government                      n    4   D1vers1ty                                              Citizen of Another State            i1 2      Cl      2     Incorporated and Pnnctpa! Place           ::1 5     ::1 5
             Defendant                                    (Indicate Citizenship of Parties tn Item l/[j                                                                       of Business In Another State

                                                                                                                                                   "J 3      ::J     3     Poretgn Nat10n                            "J 6      "J 6


IV. NA Tl:RE OF SUIT IP/ace an                            T    in One Bru Only;
                    RACT                                                           TS                             FO
"J l l 0 Insurance                                 PERSONALINJl:RY                     PERSONAL INJl'RY        :'.J 625 Drug Related Seizure           '1 422 Appeal 28 t:SC 158                  0 3 75 False Claims Act
::J 120 Manne                                ::1   3 IO Arrplane                   ,   365 Personal InJury .            of Property 21 lJSC 88 i       "J 423 W<thdrawal                          ::1 3 76 Qu, Tam ( 31 lJSC
:'.J !30M1llerAc:t                           ::J   31 S Arrplane Product                   Product L1ab1hty    "J 690 Other                                   28 l5SC 157                                  J 7'29(a)J
'1 140 Negollable Instrument                             L1ab1hty                  '1 367 Health Caret                                                r.'"'la;;;;;:iiWil:li''U"ll:r.';u:i'a".,--; ::1 400 State Reapporttonment
'1 I SO Recovery of Overpayment              ('J   320 Assault, I ,tbel &
                                                                Pharmaceu!Ical                                                                        l-_,..,o-._,_....,....,...,......_--1 ::J      410 An!Itrust
         & E.nforcement of Judgment                      SlanderPersona! Injury                                                                        "J 820 Copynghts                           i1 430 Banks and Bankmg
::J 151 Medtcare Act                 '-!                         Product L1ab1ltty
                                                   JlO Federal E.mployers·                                                                             ::J 830 Patent                             ::1 4SO Commerce
::J I Sl Recovery of Defaulted                         ::1 368 Asbestos Persona:
                                                         L1ab1ltty                                                                                     n 835 Patent · Abbreviated                 :'.J 460 Deportauon
         Student Loans               "J            340 Manne     Injury Prodt.1ct                                                                              New Drug App!tcation               "J 470 Racketeer Influenced and
         (fxdt.1des Veterans)        ::1                         Ltab1hty
                                                   l4 5 Manne Produc.t                                                                                 i1 840 Trademark                                   Corrupt Organ1zattons
n I 5 3 Recovery of Overpayment                          L1ab1l1ty
                                                           PERSO"IAL PROPERTY                                  i::::::;J:t:JiiiJi!lL)A;::;::::;c:)!jg!li:ijiiijjjlf[:'.:::J::t                    ::1 480 Consumer Credtt
           of Veteran's Benefits     !"'J              "J 370 Other Fraud
                                                   350 Motor Vehicle               n 710 fatr Labor Standards                                          :-J 861 HIA (l39Sfl)                       n 490 Cable/Sat TV
::1   160 Stockholders' Swts         ::J               '.J 371 Truth m Lendmg
                                                   355 Motor Vehicle                         Act                                                       ::J 862 Black Lung (923)                   ::J 850 Secunttes/Commod1ttes/
::1   190 Other ( ontract                              ::1 380 Other Personal
                                                        Product Lrnb1hty           ::J 720 Labor/Management                                            ::J 863 DIWC,UIWW (405(gJ)                          Exchange
i1    I 9S Contract Product Ltab1hty ::1                         Property Damage
                                                   360 Other Personal                        Relations                                                 ::1 864 SSID T'ttle XVI                    ::1 890 Other Statutory Actions
::1   196 Franchise                                    ::1 385 Property Damage
                                                        Injury                     :'.J 740 Ratlway Labor Act                                          n 865 RSI (405(g)J                         ::1 891 Agncultural Acts
                                     "J                          Product
                                                   362 Personal Injury · Ltabihty  ::J  751 Pruruly and Medical                                                                                   '1 89 3 Imvuunmental Matters
                                                        Medical Mal rac-Dce                  Leave Act                                                                                            CJ 89S Freedom of lnformat10n
C:::.;,  :;:]o~·i;liiQi!fii}~:J::t~~~-iflGij~s[':J::J:Ji~l!'im~riE·riflmNS\i:'~,, !"'J 790 Other Labor L1uga11on                                      [I,,:::;+FDEif!EilUiiiiiiJUJJ:!iiis[·i":J           Act
                                                            Habeas Corpus.         ::J 79 J Employee Rettrement                                        ::1 870 Taxes (lJ S Plamt1ff               ::J 896 Arb1trat10n
::J   220 foreclosure                                  ::J 46 3 Aben Detainee               Income Secunty Act                                                     or Defendant)                  ::1 899 Adrmmstrattve Procedure
::J   2 30 Re.nt Lease & EJectment                     '.J SI 0 Mottons to Vacate                                                                      ::J 8 7 I IRS     Third Party                      Ac:t!Revtew or Appeal of
"J    240 Torts to Land                                          Sentence                                                                                          26    use
                                                                                                                                                                           7609                           Agency Deciston
'1    245 Tort Product I iab1l1ty                      .':) S 30 General                                                                                                                          :-J 9SO Constitul!Onahty of
::1   290 All Other Real Property                       '1 S 35 Death Penalty                                                                                                                             State Statutes
                                                            Other'                 ::J 462 "Naturahzatton Appltcatwn
                                                        ':J 540 Mandamus & Other   ::J 465 Other Imnngra!Ion
                                                        ::1 550 Cm! Rights                  Ac.trnns
                                     '.J 448 l.ducanon  "J SSS Pnson Condmon
                                                        ::J 560 Civil Detamee ·
                                                                 CondJtlons of
                                                                 Confinement

           RJGJN       IP/ace an "X"'   in   One Bru Only)
            ngmal            "J 2 Removed from                       '.1 3     Remanded from              '.1 4 Remstatcd or      '.1 S Transferred from                   '.1 6 Mult1d1stnct               '.1 8 Multuhstnct
           roccedmg               State Court                                  Appellate Court                  Reopened                  Another D1stnct                         L11tgat10n ·                    L1ttgat1on.
                                                                                                                                          (<pecify)                               Transfer                        Direct File
                                                    Cite the t: S Civil Statute under which you are fihng (Do not rite f11risdicttoltlll statutes 11nless diversity)


                                                                                                                                       & the Penns lvania Human Relations Act
 VII. REQUESTED IN                                       CHECK IF nus IS A CLASS ACTION                                                    ("' PJ IRA")                  CHECK YFS only 1f demanded in complaint
      COMPLAINT:                                         UNDER Rt:LE 23, FR Cv P                                                                                         JCRY DEMAND:                  "J Yes        '."JNo
 VIII. RELATED CASE(S)
            IFANY
                                                        (See mstructzons)
                                                                                   fl;J)(JF                                                                 DOCKtT NUMBER                   N(lv 14 201 B'
 DAT'F                                                                        ~'7fA TURF OF ATTORNEY OF Rf.CORD
      I 1/13/2018
FOR OFFICE CSE ONLY
                                                                              ~- p $~-
      RECEIPT#                      AMOl.'NT                                              APPLYING UP                                  Jl.'DGE                                    MAG Jl.'DGE
                   Case 2:18-cv-04930-GAM Document 1 Filed 11/14/18 Page 2 of 8


                                                       UNITED STATES DJSTRICI' COURI"
                                                 JOR THE 1ASTERN DISTIUCT OF PENNSYLVANIA                     18                   4930
                                                                    DFSlGNATIOHFOllM
                   (19bf a#iliyo:itaMIM~·""'1«11/111(1lilt:tlM.t1Mp17fF•ou.forllit~ofod& II Al &')N.,..ipfaa ai/MJlor)

AddcessofP!aindft!           877 N Brooklyn Street, Philadelphia, PA 19104.
AddrcssofDefendant 340 N. 12th Street, Suite 108, Philadelphia, Pennsylvania 19107.
PlaceofAccident.lacidcatorTransldion: 340 N. 12th Street, Suite 108, PhiladeJphia, Pennsylvania 19107.


MUTED CAS~ IFANY:
                                                                                                        DlltTermlnated: _ _ _ _ _ __
CasNmber: _ _ _ _~----

Clvll c:aes ~deemed ie1-1 ~ Ya is snsMrld ro 1111 oftbe ibllowiDI ~
I.     Is ddscue tt1*d to P"JP'l11 illcluded In 1111 arlicr nwnbemi suit padkr& or witllin ooc )'Cit
       prew.ioasly tenn1Mted ICdoa in dsis court?

2. Docs this caa lmoM: the samc issue otr.:t er srow ws ofti. szmc tnnuctioa a a prior sait
       peadUla or Mibfn o• yw s-YioaclytemtiAlted llCtion In dUs com\?

3. Does ilis ca invohic Ibo validiQ' or~ ofa )*al alrady In •It or .1111 artier
   mabc:edcue pendizla or wishm oee '1Cfl peYioasf)' tennflmed-=tbl ofdlis court?
4. Is dlil ~a a:oad or laCCCSSl¥e t.bcal caqics. social~ llppCa1. or pzo 1e c:ivU riabls                   Yes   D               No   D
       Clle t1lcd by die lllSIC iAdlridlJll?              ~
~~a:~~~inwe                                         0   If I   a .. ~. ~. oow,....unaorwiihilloneJt:apniviausl)t~llCtioll in
                                                                         1 .            .   .. ·




DATE.          I J/13/2018                                       •±~:~"~~                                             323464
                                                                   AtlOlflq-'11·1-Iho Sc l'k:/Jf!J,I                ADorltq l.D. I (Vqplk;#IM)


am.: (ftlcea-/la ,., ,._..., .-,,
....         htlmtl0MrdMCMG:

             !Adentnlt;y 0mmtct. Mlrfne Contl'Ct, IDd AU Other Cocttracts
             f'ELA
             Jones Act-Penooel lnj111y
             Antitrust
             h1ent
             ~Rddoas
             Civil IU&)ds
             HalJea COlpUI
       9.    SccuritilsAcc(s}C.S
        o.   Social ~RcvlewCDes
(::! l • AD odla' FedmJ Ouadoa.C..:SIRA
                                 _ _ _ _ _ _ __
             ~1---~):_A_UA_l&_l''f




                                                                     AUITMTIONcnnnCATION
                                               (tllltq{ta'fdlb~ &IO..-•noeft-~for#ribrodOfL)

     -+--...--_,.;;_--:....----->coamd offtlC(1tclorpco •plaf.ntilf. do'-bJctrtity.

                       to local Cm1Rule53.2,, f l(c) (2), dlltto die best ofmy bow!qu11d belief; die d11211gcuccot1e1able iD tmsl ;.ni llCtioocw
                     the nm ofSIS0.000.00 cxcluiw ofiatcrat IDd CDlb:



               1:::--u-,~flk;)
                          St,,.,,,,,,,                              ~Iho
                                                                                                           323464       NUV 14 20flf
                                                                                                                    ...,,,.,   l.Jl. • (tPf;pl/_,.J
NOl'E A trill c1e-w1n be a llill try jllly cni, lf'OicN tlll becacaaip!l&ni:c.wtlh F.~a. :st.
                       Case 2:18-cv-04930-GAM Document 1 Filed 11/14/18 Page 3 of 8
.-....-.
            • \I~ ~ '~                 IN THE UNITED STATES DISTRICT CO!iRT
                 ~lJ~"u t.:iiOR THE EASTER~ DISTRICT OF PENNSYLVANIA
                              CASE MANAGEMENT TRACK DESIGNATION FORM
KIA COOPER                                                                              CIVIL ACTION

                                  v.
                                                                                          A~           ~930
INSPIRITEC, INC.                                                                        NO.

           In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
           plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
           fihng the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
           side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
           designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
           the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
           to which that defendant believes the case should be assigned.

           SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

           (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                               )

           (b) Social Security - Cases requesting review of a decision of the Secretary of Health
               and Human Services denying plaintiff Social Security Benefits.                                  ( )
           (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.        )

           (d) Asbestos - Cases involving claims for personal injury or property damage from
               exposure to asbestos.                                                                           ( )
           (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
               commonly referred to as complex and that need special or intense management by
               the court. (See reverse side of this form for a detailed explanation of special
               management cases.)

           (f) Standard Management - Cases that do not fall into any one of the other tracks.


           I 1113/2018                      Colin Saltry, Esq.             Kia Cooper
           Date                               Attorney-at-law                      Attorney for
           215-4 75-3544                       215-449-3369                        SR@LawKM com

           Telephone                           FAX Number                          E-Mail Address


           (Ci". 660) 10/02
         Case 2:18-cv-04930-GAM Document 1 Filed 11/14/18 Page 4 of 8

             /'"~     ,..   ..-,   '

             [(~ i~\\ ~,,i _.      j
             '\_-fH·. '
              , ~ ~. · ' -~ · , .. UNITED ST A TES DISTRICT COURT
                              EASTERN DISTRICT OF PENNSYLVANIA


 KIA COOPER

         Plaintiff,                                 i Case No.                       4930
 V.

 INSPIRITEC, INC.,                                  !i JURY TRIAL DEMANDED
                                                    '
         Defendant.




                                            COMPLAINT

       NOW COMES Plaintiff, Kia Cooper, by and through her attorney, Colin Saltry, Esquire of

Kraemer, Manes & Associates LLC, and files this complaint alleging as follows:

                                        I. Nature of the Action

        I.      Plaintiff brings this action under the Americans with Disabilities Act ("ADA") 42

U.S.C §12101-12213, and the Pennsylvania Human Relations Act ("PHRA") 43 P.S. §§951-963.

                                       II. Jurisdiction and Venue

       2.       This acuon arises under the statutes cited in the preceding paragraph. This Court

has jurisdiction over Plaintiffs claims pursuant to 28 L'.S.C. §§ 1331and1343.

       3.        Plaintiff is a resident and citizen of Pennsylvania, a substantial part of the events or

omissions giving rise to the claims occurred in Eastern Pennsylvania, and, therefore, this action is

within the jurisdiction of the United States District Court for the Eastern District of Pennsylvania

and the venue is proper pursuant to 28 U.S.C. § 139l(b).
         Case 2:18-cv-04930-GAM Document 1 Filed 11/14/18 Page 5 of 8




       4.      Plaintiff filed a timely charge with the Equal Employment Opportunity

Commission ("EEOC") regarding her allegations under the ADA on February I, 2018, under

charge number 530-2018-02038. See Exhibit I.

       5.      Plaintiff was mailed Notice of Right to Sue from the EEOC on August 16, 2018.

The Complaint has been filed within ninety (90) days of the Plaintiffs receipt, this making this

action timely. See Exhibit 2

                                           III. Parties

       6.      Plaintiff, Kia Cooper ("Plaintiff'), is an adult individual who currently resides at

877 N Brooklyn Street, Philadelphia, PA 19104.

       7.      Defendant, Inspiritec, Inc. (hereinafter "Defendant") is a non-profit business

located at 340 N. I zth Street, Suite 108, Philadelphia, Pennsylvania 19107.

                                            IV. Facts

       8.      Plaintiff began working for Defendant as a Customer Service Representative on or

about December 14, 2015.

       9.      On February 14, 2017, Plamtiff was diagnosed with anxiety and depression.

Plaintiff immediately notified her supervisor, Kelly Devine, of her diagnosis.

        10.    In response, Defendant's supervisor, Ms. Devine, stated "that's not my business"

and told Plaintiff to discuss her diagnosis with her case manager, Kathleen Cassidy.

        11.    Defendant's supervisor, Ms. Devine stopped communicating with Plaintiff and

became hostile toward her.

        12.    Plaintiff typically worked 9:00 a.m. to 5:00 p.m.
         Case 2:18-cv-04930-GAM Document 1 Filed 11/14/18 Page 6 of 8




        13.     In late April or early May 2017, Defendant's supervisor, Ms. Devine began forcing

Plaintiff to stay late to "clear the call queue" every day.

        14.    Plaintiffs co-workers, none of whom were disabled or regarded as being disabled,

were perrmtted to leave for the day if they if did not have a call by 5 :00 p.m.

        15.    Plaintiff was the only employee who had to stay past her scheduled shift to close

out the call queue.

        16.     On June 28, 2017, Plaintiff was experiencing severe back pain while at work and

took an Uber to Jefferson Urgent Care.

        17.     Plaintiff was exammed and diagnosed with sciatica, a painful nerve condition

which causes excruciating pain and limits motion.

        18.     Sciatica cannot be instantly "cured"; instead it requires days,    week~,   or months of

stretching to relieve the nerve pain to more a more manageable level.

        19.     Plaintiff was prescribed muscle relaxers and was released to return to work two

days later.

        20.     Plaintiff submitted a doctor's excuse along with accommodations including a

request to take more breaks to stand up and stretch and to use a heating pad as needed. She was

also scheduled to take yoga classes offered by Defendant to ease the sciatica pain.

        21.     Due to the severe pain, Plaintiff took a longer time to return from restroom breaks.

On one occasion, a Team Lead approached Plaintiff and said "do you know you're late?". Plaintiff

replied that she is limping and cannot move quickly.

        22.     Plamtiff did not report to work on July 25, 2017 and July 26, 2017 due to sciatica

pain that was so severe that she was unable to walk or stand.
            Case 2:18-cv-04930-GAM Document 1 Filed 11/14/18 Page 7 of 8




        23.     Plaintiff was terminated on July 27, 2017 for attendance issues arising out of her

disability.

                                        V. Causes of Action

                                             Count I
                                      Violations of the ADA
              (Disability Discrimination, Failure to Accommodate and Retaliation)

        24.     The foregoing paragraphs are incorporated in their entirety as if set forth m full.

        25.     At all times relevant herein, Plaintiff suffered from anxiety, depression, and

sciatica.

        26.     As a result of her disability, Plaintiff requested reasonable accommodations,

including breaks to stand up and stretch and the ability to use a heating pad as needed.

        27.     Defendant did not engage in any meaningful interactive process with respect to

Plaintiffs disability, and in doing so, failed to offer any reasonable accommodations.

        28.     Defendant retaliated against Plaintiff insofar as Defendant terminated Plaintiff

within a close temporal proximity of Plaintiffs request for reasonable accommodations.

        29.     The above actions constitute violations of the ADA.

                                            Count II
                                     Violations of the PHRA
              (Disability Discrimination, Failure to Accommodate and Retaliation)

        30.        The foregoing paragraphs are mcorporated in their entirety as if set forth in full.

        31.     Plaintiff re-asserts and re-alleges each and every allegat10n set forth m Count I of

this Complaint, as said actions also constitute violations of the PHRA.

                WHEREFORE, Plaintiff respectfully request that this Court enter judgment in her

favor, and agamst the Defendant, and award all damages avallable at law and in eqmty, mcluding:
         Case 2:18-cv-04930-GAM Document 1 Filed 11/14/18 Page 8 of 8




lost wages, front pay, compensatory damages, punitive damages, court costs, attorney fees, pre-

judgment and contmuing interest, and any other relief that the Court deems necessary and proper.



                                                              Respectfully Submitted,




                                                              Cohn Patnck Saltry, Esq.
                                                              PA ID: 323464
                                                              KRAEMER, MA~ES
                                                              & ASSOCIATES LLC
                                                              8 Penn Center
                                                              I 628 JFK Blvd., Smte 1650
                                                              Philadelphia, PA 19103
                                                              (215) 475-3544 Dtrect
                                                              (215) 853-3665 Fax
                                                              cs(a;Jawkm.com
